             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



CURTIS ROGERS,

                               Plaintiff,
          V.
                                                             CASE NO.: 1:23-CV-621
CITY OF GREENSBORO ABC
BOARD,

                               Defendant.



                       AFFIDAVIT OF CURTIS ROGERS


          THE UNDERSIGNED, being first duly sworn, deposes and says:

      1        I am a resident of the State of North Carolina.

      2        I am over the age of 18 and competent and qualified to testify as to the

matters stated herein.

      3        The matters stated herein are based on my personal knowledge except where

stated and as to those matters, I believe them to be true.

      4        On July 28, 2021, I was diagnosed with plantar fasciitis after feeling

significant pain in my foot.




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      5       Plantar fasciitis makes it difficult for me to walk or stand. At times, I am not

able to put any pressure on my foot, which prevents me from standing and walking

entirely. It was one of these occasions that led me to seek treatment on July 28, 2021.

      6       My doctor told me to stay off my feet for four days.

      7       I texted my supervisor, Jasen Milliken, to let him know. Defendant’s Exhibit

1 (Doc. 28-1) is a true and accurate copy of that text conversation.

      8       Because Milliken said in his text we needed to call him, I also called him.

During that conversation, I told him that I could not put weight on my foot for four days

and would bring him a note on Monday (August 2, 2021). Milliken responded, “Okay.”

      9       By the time I returned to work on August 2, my pain had subsided to a 5 out

of 10, but I still walked with a noticeable limp.

    10        On August 2, 2021, I provided Milliken with a doctor’s note and after visit

summary attached hereto as Exhibit A.

     11       Milliken asked me why I did not come to work on July 30.

    12        I told Milliken that I could not put any weight on my foot, so I could not do

any of my job duties, all of which involved standing and walking.

    13        Milliken told me that if I could not make truck days he did not need me, and

that he would talk to Vickee Armstrong, the CEO.




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    14        Three days later, on August 5, 2021, Milliken and Armstrong terminated me

by giving me the piece of paper that is page 4 of Doc. 28-4. They did not provide any

additional details.

     15       Misty Walters and Teresa Pitts did not work for the ABC Board at the same

time I did. If they did, I never met them.

    16        All of the job duties mentioned in paragraph 5 of Misty Walters’s affidavit

(Doc. 28-6) still required standing:

          16.1        Milliken only permitted certain employees to use the forklift. I was

                      not one of them. Even if I were, the forklift was only operated for a

                      few minutes at a time between loading and unloading.

          16.2        Riding in the truck would only have occurred between loading and

                      unloading.

          16.3        Seated meetings were an infrequent occurrence, and usually only

                      lasted a few minutes.

     17       I did not go to the follow-up visit for my foot mentioned in Exhibit A because

I lost my insurance when the ABC Board terminated me.

    18        My plantar fasciitis nevertheless continued to worsen after my initial

diagnosis, limiting the time I can spend walking and standing. This caused me to seek

increasingly sedentary work. I am now unable to work any delivery, freight, or warehouse




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                  Exhibit A




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